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                                           10319
                                                                  King & Spalding LLP
                                                                  1185 Avenue of the Americas, 34th Floor
                                                                  New York, NY 10036-4003
                                                                  Tel: +1 212 556 2100
                                                                  Fax: +1 212 556 2222
                                                                  www.kslaw.com

                                                                  Randy M. Mastro
                                                                  Partner
                                                                  Direct Dial: +1 212 827 4019
                                                                  RMastro@kslaw.com



January 17, 2025

VIA ECF

Hon. Leo M. Gordon
United States District Court
District of New Jersey
2 Federal Square
Newark, NJ 07102

       Re:     State of New Jersey v. U.S. Dep’t of Transportation et al., No. 2:23-cv-03885

Dear Judge Gordon:

        We write to provide several updates related to the remand proceedings ordered by the Court
on December 30, 2024. See ECF No. 191. First, New Jersey intends to voluntarily seek to dismiss
its appeal regarding the Court’s denial of New Jersey’s Application for an Order to Show Cause
for Clarification and/or Reconsideration and for a Temporary Restraining Order and Preliminary
Injunction. To be clear, New Jersey will—as it always has—continue to vigorously defend its
rights and take all measures necessary to prevent the harm that will befall its citizens due to this
congestion pricing scheme. New Jersey therefore reserves the right to appeal any future decisions
from this Court, including a final decision on the remand proceedings and issues raised in the
parties’ summary judgment briefing. Second, New Jersey intends to seek leave of the Court to file
an amended complaint to challenge the Federal Highway Administration’s multiple re-evaluations
of the congestion pricing program. New Jersey expects to file its application shortly.

                                                     Respectfully,

                                                     /s/ Randy M. Mastro

                                                     Randy M. Mastro


cc: All counsel of record (via ECF)
